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                   UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION




SECURITIES AND EXCHANGE
COMMISSION,


                           Plaintiff,
                                                    Civil Action File No.
                                                    1:16-cv-1752-LMM
                      v.


HOPE ADVISORS, LLC, KAREN
BRUTON, TODD WORTMAN, and
DAWN ROBERTS,


                           Defendants,
and



JUST HOPE FOUNDATION,



                           Relief Defendant.




                FINAL JUDGMENT AS TO DEFENDANTS
              KAREN BRUTON AND HOPE ADVISORS, LLC


      The Securities and Exchange Commission having filed a Complaint and


Defendants Hope Advisors, LLC ("Hope") and Karen Bruton having entered a


general appearance; consented to the Court's jurisdiction over Hope and Ms.
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Bruton and the subject matter of this action; reached an agreement with the

Commission to settle this action without admitting or denying the allegations of

the Amended Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph VII); waived findings of fact and conclusions of

law; and waived any right to appeal from this Final Judgment, it is ORDERED as

follows:

                                          I.


      IT IS HEREBY ORDERED that, although they are not admitting or


denying the allegations of the Amended Complaint, Hope and Ms. Bruton are

permanently restrained and enjoined from violating, directly or indirectly,

Sections 206(1), (2), and (4) of the Investment Advisers Act of 1940 (the

"Advisers Act") [15 U.S.C. §§ 80b-6(1), (2), (4)] and Rule 206(4)-8 promulgated

thereunder [17 C.F.R. §206(4)-8], which prohibit using any means or

instrumentality of interstate commerce, or the mails, directly or indirectly,

      (a) to employ any device, scheme, or artifice to defraud any client or

           prospective client;

      (b) to engage in any transaction, practice, or course of business which

           operates as a fraud or deceit upon any client or prospective client; or




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      (c) to engage in any act, practice, or course of business which is


          fraudulent, deceptive, or manipulative, including, while acting as an


          investment adviser to a pooled investment vehicle by:


          ( 1) making any untrue statement of a material fact or omitting to state

             a material fact necessary to make the statements made, in the light


             of the circumstances under which they were made, not misleading,


             to any investor or prospective investor in the pooled investment


             vehicle; or


          (2) otherwise engaging in any act, practice, or course of business that


             is fraudulent, deceptive, or manipulative with respect to any


             investor or prospective investor in the pooled investment vehicle.


This injunction specifically prohibits (i) the creation of a false appearance or


otherwise deceiving any client, prospective client, or investor or prospective


investor in a pooled investment vehicle; and


(ii) the dissemination of false or misleading documents, materials, or


information or the making, either orally or in writing, any false or misleading


statement in any communication with any client, prospective client or investor


or prospective investor in a pooled investment vehicle, about any investment




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strategy, investment returns or investment in securities, or compensation to any


person.


      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as


provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph


also binds the following who receive actual notice of this Final Judgment by


personal service or otherwise: (a) Hope's and Ms. Bruton's officers, agents,


servants, employees, and attorneys; and (b) other persons in active concert or


participation Hope and Ms. Bruton or with anyone described in (a).


                                         II.


      IT IS HEREBY FURTHER ORDERED that Hope and Ms. Bruton are


hereby liable, jointly and severally, for disgorgement of $1,23 7 ,23 5. Hope and


Ms. Bruton shall pay this amount within 10 days after the entry of this judgment.


Payments shall be deemed made on the date they are received by the Commission


and shall be applied first to post judgment interest, which accrues pursuant to 28


U.S.C. § 1961 on any unpaid amounts due after 10 days of the entry of Final


Judgment.


      Hope and Ms. Bruton may transmit payment electronically to the


Commission, which will provide detailed ACH transfer and Fedwire instructions




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upon request.   Payment may also be made directly from a bank account via


Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.


Hope and Ms. Bruton may also pay by certified check, bank cashier's check, or


United States postal money order payable to the Securities and Exchange


Commission, which shall be delivered or mailed to


       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169


 and shall be accompanied by a letter identifying the case title, civil action


number, and name of this Court; Hope's and Ms. Bruton's names as defendants


in this action; and specifying that payment is made pursuant to this Final


Judgment.


       Hope and Ms. Bruton shall simultaneously transmit photocopies of


evidence of payment and case identifying information to the Commission's


counsel in this action. By making the payments, Hope and Ms. Bruton relinquish


all legal and equitable right, title, and interest in such funds and no part of the


funds shall be returned to Hope and Ms. Bruton.


        The Commission may enforce the Court's judgment for amounts due


pursuant to paragraph II herein by moving for civil contempt (and/or through other



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collection procedures authorized by law) at any time after a failure of Hope and


Ms. Bruton to make payments as required by this Final Judgment. Hope and Ms.


Bruton shall pay post judgment interest on any delinquent amounts pursuant to 28


U.S.C. § 1961.


                                        III.


              IT IS HEREBY FURTHER ORDERED that Hope and Ms.


Bruton are hereby liable, jointly and severally, to pay a civil monetary penalty of


$250,000.   Hope and Ms. Bruton shall pay this amount within 10 days of entry of


this Final Judgment.


       Hope and Ms. Bruton may transmit payment electronically to the


Commission, which will provide detailed ACH transfer and Fedwire instructions


upon request.    Payment may also be made directly from a bank account via


Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.


Hope and Ms. Bruton may also pay by certified check, bank cashier's check, or


United States postal money order payable to the Securities and Exchange


Commission, which shall be delivered or mailed to


       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169




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and shall be accompanied by a letter identifying the case title, civil action number,


and name of this Court; Hope and Ms. Bruton as a defendant in this action; and


specifying that payment is made pursuant to this Final Judgment.


       Hope and Ms. Bruton shall simultaneously transmit photocopies of


evidence of payment and case identifying information to the Commission's


counsel in this action. By making the payment, Hope and Ms. Bruton relinquish


all legal and equitable right, title, and interest in such funds and no part of the


funds shall be returned to Hope and Ms. Bruton.


       The Commission may enforce the Court's judgment for amounts due


pursuant to paragraph III herein through any collection procedures authorized by


law at any time after a failure of Hope and Ms. Bruton to make payment as set


forth above. Hope and Ms. Bruton shall pay post judgment interest on any


delinquent amounts pursuant to 28 U.S.C. § 1961.


                                          IV.


       The Commission shall hold any funds collected pursuant to this Final


Judgment (collectively, the "Fund") and will propose a plan to distribute the Fund


to investors in Hope Investments, LLC, subject to the Court's approval. Such a


plan may provide that the Fund shall be distributed pursuant to the Fair Fund



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provisions of Section 308(a) of the Sarbanes-Oxley Act of2002. The Court shall


retain jurisdiction over the administration of any distribution of the Fund. If the


Commission staff or the Court determines that the Fund, or any part thereof, will


not be distributed to investors, the Commission shall send such funds to the


United States Treasury.


      Regardless of whether any such Fair Fund distribution is made, amounts


ordered to be paid as civil penalties pursuant to this Final Judgment shall be


treated as penalties paid to the government for all purposes, including all tax


purposes. Hope and Ms. Bruton shall not, after offset or reduction of any award


of compensatory damages in any Related Investor Action based on Hope's and


Ms. Bruton's payments of disgorgement in this action, argue that they are entitled


to, nor shall they further benefit by, offset or reduction of such compensatory


damages award by the amount of any part of Hope's or Ms. Bruton's payments of


a civil penalty in this action ("Payment Offset"). If the court in any Related


Investor Action grants such a Payment Offset, Hope and Ms. Bruton shall, within


30 days after entry of a final order granting the Payment Offset, notify the


Commission's counsel in this action and pay the amount of the Payment Offset to


the United States Treasury or to a Fair Fund, as the Commission directs. Such a




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payment shall not be deemed an additional civil penalty and shall not be deemed


to change the amount of the civil penalty. For purposes of this paragraph, a


"Related Investor Action" means a private damages action brought against Ms.


Bruton or Hope by or on behalf of one or more investors based on substantially


the same facts as alleged in the Complaint in this action.


                                         v.


      IT IS FURTHER ORDERED that the Consent Order entered in this


action on May 31, 2016 [Dkt. 4] shall be of no further force or effect.


                                        VI.


      IT IS FURTHER ORDERED that the Consent is incorporated herein


with the same force and effect as if fully set forth herein, and that Hope and Ms.


Bruton shall comply with all of the undertakings and agreements set forth therein.


                                        VII.


      IT IS FURTHER ORDERED that, solely for purposes of exceptions to


discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the


allegations in the complaint are true and admitted by Ms. Bruton, and further, any


debt for disgorgement, civil penalty or other amounts due by Ms. Bruton under


this Final Judgment or any other judgment, order, consent order, decree or




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settlement agreement entered in connection with this proceeding, is a debt for the


violation by Ms. Bruton of the federal securities laws or any regulation or order


issued under such laws, as set forth in Section 523(a)(l 9) of the Bankruptcy Code,


11 U.S.C. §523(a)(19).




         IT IS FURTHER ORDERED that this Court shall retain jurisdiction of


this matter for the purposes of enforcing the terms of this Final Judgment.


                                          IX.


      There being no just reason for delay, pursuant to Rule 54(b) of the Federal


Rules of Civil Procedure, the Clerk is ORDERED to enter this Final Judgment


forthwith and without further notice.



Dated:   ){Q\itl'l'bt'I   \3   , 2018




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                                           D STATES ISTRICT JUDGE




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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION




SECURITIES AND EXCHANGE
COMMISSION,


                             Plaintiff,
                                                   Civil Action File No.
                                                   1:16-cv-1752-LMM
                        v.


HOPE ADVISORS, LLC, KAREN
BRUTON, TODD WORTMAN, and
DAWN ROBERTS,


                             Defendants,
and



JUST HOPE FOUNDATION,



                             Relief Defendant.




                         CONSENT OF DEFENDANTS
               HOPE ADVISORS, LLC AND KAREN BRUTON


      1.     Defendants Hope Advisors, LLC ("Hope") and Karen Bruton


acknowledge having been served with the Amended Complaint in this action, enter


a general appearance, and admit the Court's jurisdiction over Hope and Ms. Bruton


and over the subject matter of this action.
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      2.    Without admitting or denying the allegations of the Amended


Complaint (except as provided herein in paragraph 12 and except as to personal


and subject matter jurisdiction, which Hope and Ms. Bruton admit), Hope and Ms.


Bruton have reached an agreement with the Commission to settle this action,


which, among other things, as reflected in the Final Judgment attached hereto (the


"Final Judgment"):


            (a)      permanently restrains and enjoins Hope and Ms. Bruton from


                     violation of Sections 206(1), (2), and (4) of the Investment


                     Advisers Act of 1940 (the "Advisers Act") [15 U.S.C. §§ 80b-


                     6(1), (2), (4)] and Rule 206(4)-8 promulgated thereunder [17


                     C.F.R. §206(4)-8];


            (b)      reflects Hope's and Ms. Bruton's agreement to pay and be


                     liable for, jointly and severally, disgorgement in the amount of


                     $1,237,235; and


             (c)     reflects Hope's and Ms. Bruton's agreement to pay and be


                     liable for, jointly and severally, $250,000 in civil penalties.


3.    Hope and Ms. Bruton acknowledge that the civil penalties paid pursuant to


the Final Judgment may be distributed pursuant to the Fair Fund provisions of


Section 308(a) of the Sarbanes-Oxley Act of 2002. Regardless of whether any




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such Fair Fund distribution is made, the civil penalties shall be treated as a penalty


paid to the government for all purposes, including all tax purposes. Hope and Ms.


Bruton agree that they shall not, after offset or reduction of any award of


compensatory damages in any Related Investor Action based on Hope's and Ms.


Bruton 's payment of disgorgement in this action, argue that they are entitled to, nor


shall they further benefit by, offset or reduction of such compensatory damages


award by the amount of any part of Hope's and Ms. Bruton's payment of a civil


penalty in this action ("Payment Offset"). If the court in any Related Investor


Action grants such a Payment Offset, Hope and Ms. Bruton agree that they shall,


within 30 days after entry of a final order granting the Payment Offset, notify the


Commission's counsel in this action and pay the amount of the Payment Offset to


the United States Treasury or to a Fair Fund, as the Commission directs. Such a


payment shall not be deemed an additional civil penalty and shall not be deemed to


change the amount of the civil penalty imposed in this action. For purposes of this


paragraph, a "Related Investor Action" means a private damages action brought


against Ms. Bruton or Hope by or on behalf of one or more investors based on


substantially the same facts as those alleged in the Amended Complaint in this


action.




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4.       Hope and Ms. Bruton agree that they shall not seek or accept, directly or


indirectly, reimbursement or indemnification from any source, including but not


limited to payment made pursuant to any insurance policy, with regard to any civil


penalty that Hope and Ms. Bruton pay pursuant to the Final Judgment, regardless


of whether such amounts or any part thereof are added to a distribution fund or


otherwise used for the benefit of investors. Hope and Ms. Bruton further agree that


they shall not claim, assert, or apply for a tax deduction or tax credit with regard to


any federal, state, or local tax for any amounts that Hope and Ms. Bruton pay


pursuant to the Final Judgment, regardless of whether such penalty amounts or any


part thereof are added to a distribution fund or otherwise used for the benefit of


investors.


5.       Hope and Ms. Bruton waive the entry of findings of fact and conclusions of


law pursuant to Rule 52 of the Federal Rules of Civil Procedure.


6.       Hope and Ms. Bruton waive the right, if any, to a jury trial and to appeal


from the entry of the Final Judgment.


7.       Hope and Ms. Bruton enter into this Consent voluntarily and represent that


no threats, offers, promises, or inducements of any kind have been made by the


Commission or any member, officer, employee, agent, or representative of the


Commission to induce Hope and Ms. Bruton to enter into this Consent.




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8.    Hope and Ms. Bruton agree that this Consent shall be incorporated into the


Final Judgment with the same force and effect as if fully set forth therein.


9.    Hope and Ms. Bruton will not oppose the enforcement of the Final Judgment


on the ground, if any exists, that it fails to comply with Rule 65(d) of the Federal


Rules of Civil Procedure, and hereby waive any objection based thereon.


10.   Hope and Ms. Bruton waive service of the Final Judgment and agree that


entry of the Final Judgment by the Court and filing with the Clerk of the Court will


constitute notice to Hope and Ms. Bruton of its terms and conditions. Hope and


Ms. Bruton further agree to provide counsel for the Commission, within thirty days


after the Final Judgment is filed with the Clerk of the Court, with an affidavit or


declaration stating that Hope and Ms. Bruton have received and read a copy of the


Final Judgment.


11.    Consistent with 17 C.F.R. § 202.S(f), this Consent resolves only the claims


asserted against Hope and Ms. Bruton in this civil proceeding. Hope and Ms.


Bruton acknowledge that no promise or representation has been made by the


Commission or any member, officer, employee, agent, or representative of the


Commission with regard to any criminal liability that may have arisen or may arise


from the facts underlying this action or immunity from any such criminal liability.


Hope and Ms. Bruton waive any claim of Double Jeopardy based upon the




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settlement of this proceeding, including the imposition of any remedy or civil


penalty herein. Hope and Ms. Bruton further acknowledge that the Court's entry


of a permanent injunction may have collateral consequences under federal or state


law and the rules and regulations of self-regulatory organizations, licensing boards,


and other regulatory organizations. Such collateral consequences include, but are


not limited to, a statutory disqualification with respect to membership or


participation in, or association with a member of, a self-regulatory organization.


This statutory disqualification has consequences that are separate from any


sanction imposed in an administrative proceeding. In addition, in any disciplinary


proceeding before the Commission based on the entry of the injunction in this


action, Hope and Ms. Bruton understand that they shall not be permitted to contest


the factual allegations of the Amended Complaint in this action.


12.   Hope and Ms. Bruton understand and agree to comply with the terms of 17


C.F.R. § 202.S(e), which provides in part that it is the Commission's policy "not to


permit a defendant or respondent to consent to a judgment or order that imposes a


sanction while denying the allegations in the complaint or order for proceedings,"


and "a refusal to admit the allegations is equivalent to a denial, unless the


defendant or respondent states that he neither admits nor denies the allegations."


As part of Hope's and Ms. Bruton's agreement to comply with the terms of Section




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202.5(e), Hope and Ms. Bruton: (i) will not take any action or make or authorize


any other person to make any public statement denying, directly or indirectly, any


allegation in the Amended Complaint or creating the impression that the Amended


Complaint is without factual basis; (ii) will not make or authorize any other person


to make any public statement to the effect that Hope and Ms. Bruton do not admit


the allegations of the Amended Complaint, or that this Consent contains no


admission of the allegations, without also stating that Hope and Ms. Bruton do not


deny the allegations; (iii) upon the filing of this Consent, Hope and Ms. Bruton


hereby withdraw any papers filed in this action to the extent that they deny any


allegation in the Amended Complaint; and (iv) stipulate solely for purposes of


exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C.


§523, that the allegations in the Amended Complaint are true, and further, that any


debt for disgorgement, prejudgment interest, civil penalty or other amounts due by


Ms. Bruton under the Final Judgment or any other judgment, order, consent order,


decree or settlement agreement entered in connection with this proceeding, is a


debt for the violation ·by Ms. Bruton of the federal securities laws or any regulation


or order issued under such laws, as set forth in Section 523(a)(l9) of the


Bankruptcy Code, 11 U.S.C. §523(a)(l9). If Hope and Ms. Bruton breach this


agreement, the Commission may petition the Court to vacate the Final Judgment




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and restore this action to its active docket. Nothing in this paragraph affects


Hope's and Ms. Bruton's: (i) testimonial obligations; or (ii) right to take legal or


factual positions in litigation or other legal proceedings in which the Commission


is not a party.


13.    Hope and Ms. Bruton hereby waive any rights under the Equal Access to


Justice Act, the Small Business Regulatory Enforcement Fairness Act of 1996, or


any other provision of law to seek from the United States, or any agency, or any


official of the United States acting in his or her official capacity, directly or


indirectly, reimbursement of attorney's fees or other fees, expenses, or costs


expended by Hope and Ms. Bruton to defend against this action. For these


purposes, Hope and Ms. Bruton agree that neither they nor the Commission are the


prevailing party in this action since the parties have reached a good faith


settlement.


14.    Hope and Ms. Bruton agree that the Commission may present the Final


Judgment to the Court for signature and entry without further notice.


15.    Hope and Ms. Bruton agree that the Court shall retain jurisdiction over this


matter for the purpose of enforcing the terms of the Final Judgment.




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FOR KAREN BRUTON:

Dated:   � 5 CZO     I
                            I   fl            ��
                                           Karen Bruton


      On   -=:r;:e   5--M        , 2018,   Af.'?/J   ;JI.�,   ,   a person known
to me, personally appeared before me ad acknowledged executing the foregoing
Consent.




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FOR HOPE ADVISORS, LLC:


                                      Hope Advisors, LLC


                                      B y:
                                             �&�
                                      Karen Bruton
                                      Sole Member and Manager




      O��ne__ _1)-../-A   ,   2018,   f!0<..ret1 J3R),{_k           , a person
known to me, personally appeared before me and acknowledged executing the
foregoing Consent with full authority to do so on behalf of Hope Advisors, LLC as
its sole member and manager.




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Attorney for Hope Advisors, LLC and Karen Bruton




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